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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

SHANNAN MCDONALD,

            Plaintiff,                             Case No. 15-12619

v.                                                 Hon. John Corbett O’Meara

UAW-GM CENTER FOR HUMAN RESOURCES,
A domestic non-profit corporation,

            Defendant.

 L AW O FFICES J EFFREY S. B URG , E SQ .   S TARR , B UTLER , A LEXOPOULOS &
 Jeffrey Burg (P38381)                      S TONER , PLLC
 Attorney for Plaintiff                     Joseph A. Starr (P47253)
 30700 Telegraph Rd., Ste. 1675             Thomas Schramm (P62067)
 Bingham Farms, MI 48025                    Attorneys for Defendant
 (248) 227-5027                             20700 Civic Center Dr., Ste. 290
 jburg@comcast.net                          Southfield, Michigan 48076
                                            (248) 554-2700
                                            jstarr@starrbutler.com
                                            tschramm@starrbutler.commailto:n
                                            pioch@starrbutler.com

                         PLAINTIFF'S WITNESS LIST



         1. Shannan McDonald

         2. Robert McDonald, husband of Plaintiff.

         3. Dr. Thomas Kelley, treating and/or expert psychologist.

         4. Ray Allen. 248-894-3490.

         5. Jill Allen. 248-894-3490.
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        6. Kevin Nix, Agent of Defendant, address unknown.

        7. Yolanda Smith, Agent of Defendant, address unknown.

        8. Cristela Mitchell, Agent of Defendant, address unknown.

        9. Cindy Estrada, Agent of Defendant, address unknown.

        10.Chris Owen, Agent of Defendant, address unknown.

        11.Michael Grimes, Agent of Defendant, address unknown.

        12. Dottie Barnett, Agent of Defendant, address unknown.

        13.Christine Paige, Agent of Defendant, address unknown.

        14.Jean Reed, Agent of Defendant, address unknown.

        15.Chris Gallagher, Agent of Defendant, address unknown.

        16.Janice Adams, Agent of Defendant, address unknown.

        17.John Ashton, Agent of Defendant, address unknown.

        18.Joe Ashton, Agent of Defendant, address unknown.

        19.Lance Rhines, Agent of Defendant, address unknown.

        20.Maurice Staten, Agent of Defendant, address unknown.

        21.John Fedewa, Agent of Defendant, address unknown.

        22.Yvette McGee, Agent of Defendant, address unknown.

        23.Anthony Raglund, Agent of Defendant, address unknown.

        24.Lee Jones, Agent of Defendant, address unknown.

        25.Frank Moultrie, Agent of Defendant, address unknown.

        26.Janice LaCasse, Agent of Defendant, address unknown.
                                      2
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        27.Annette Stento, Agent of Defendant, address unknown.

        28. Libby Tomasko, Agent of Defendant, address unknown.

        29.Jeff Pietrzyk, Agent of Defendant, address unknown.

        30.Sheleda Jackson, Agent of Defendant, address unknown.

        31.Marsha Creelman, Agent of Defendant, address unknown.

        32.Russ McBride, Agent of Defendant, address unknown.

        33.Dr. Topf, Oral surgeon. June 27, 2013. 6177 Orchard Lake Road,

           West Bloomfield, MI, 48322.           248-855-2006.      Laforte 1

           mandibular-sagittal split-ostomy geniogtossus.

        34.Dr. Rick Olson, July 21, 2010. 4203 West 13 Mile Road, Royal

           Oak, MI, 48073. 248-288-2025. Neurologist, hydrocephalus-

           neck surgery, Shunt removal 2012, miscellaneous visits and

           post-ops, mris, CTscans .

        35. Dr. Bojrab 2011-2013. 3055 Northwestern Hwy., Farmington

           Hills, MI, 48334. 248-865-4444. Ear, nose and throat surgeon.

           Ear surgeries, bone structure, ear canals.

        36.Dr. Kwaiser, gynecologist. 2012-2014. 3535 West 13 Mile Rd.,

           Royal Oak, MI      48073. 248-551-0610. Endometriosis, surgery

           twice. Miscellaneous office visits.

        37.Dr. Arthur Rosner, 2010-2013.           1055 South Blvd. East,

           Rochester Hills, MI     48307. 586-731-1518. Ear, nose, throat.
                                       3
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           Removal of ear tubes, and polyps from nose.        Miscellaneous

           office visits.

        38.Dr. Gary Renard, primary care physician.        2009-2015.     555

           Barclay Circle, Rochester Hills, MI,      48307.   248-299-5777.

           Yearly physicals, aches and pains.

        39.Dr. Partha Nonely, 2012-2015.          1701 South Blvd. East,

           Rochester Hills, MI, 48307. 248-844-9710. Gastroenterologist.

           Stomach pain, ulcers. Miscellaneous visits.

        40.Dr. Roger Byrd.      Dermatologist.    2009-2015. 405 Barclay

           Circle, Rochester Hills, MI,     48307.      248-853-3131. Skin

           conditions.

        41.Dr. Cencer. Dentist. 2009-2015. 455 Barclay Circle, Rochester

           Hills, MI, 48307. 248-853-5401. Regular checkups plus molds

           after surgeries.

        42.Dr. Kaspo. 2014- present. 3144 John R Road, Troy, MI, 48083.

           248-519-1100. Facial pain, oral surgeon. Cortisone injections.

        43.Dr. Sheila McKenzie, chiropractor.     2010-present. 1065 East

           Long Lake Road, Troy, MI, 48085.            248-524-2223. Spinal

           adjustments.

        44.Dr. Duncan, primary care physician. 2015. 2041 East Square Lake

           Road, Troy, MI, 48085. 248-813-0124.
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        45.Dr. Thomas Kelly. Counselor. 2010-2015. 2888 East Long Lake

           Road, Troy, MI, 48085. 248-227-1757.

        46.All Keepers of the Records for all treating and/or examining health care

           professionals of Plaintiff.

        47.Any witnesses identified by Defendant during discovery.

        48.Any and all persons and/or entities named or referred to by any

           deponent during depositions.

        49.All witnesses on Defendant's witness list.

        50.Any other expert or other witnesses whose testimony becomes known

           and/or plaintiff deems relevant through further discovery.

        51.All record custodians obtained by plaintiff through discovery,

           subpoena or otherwise.

        52.Any necessary rebuttal witnesses.

        53.All witnesses identified by defendant's agents in their depositions

           and/or any other discovery document or item in this matter.

        54.All witnesses necessary for foundation purposes in the entry of

           exhibits.

        55.All experts needed to respond to experts named by Defendant.

        56.Plaintiff reserves the right to supplement or amend this witness list.




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                                               LAW OFFICES JEFFREY S. BURG

                                               /s/ Jeffrey S. Burg

                                               ______________________________
                                               Jeffrey S. Burg (P38381)
                                               Attorney for Plaintiff
                                               30700 Telegraph Road, Ste. 1675
                                               Bingham Farms, MI 48025
                                               (248) 227-5027

Dated: February 4, 2016

                              PROOF OF SERVICE

Jeffrey S. Burg certifies that the forgoing instrument was served upon all parties to
the above cause to each of the attorneys of record herein at their respective addresses
disclosed on the pleadings on February 4, 2016, by virtue of filing the document
with the Court through its ECF filing system.

                                               /s/ Jeffrey S. Burg

                                               Jeffrey S. Burg




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